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 7
 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10   NORMA LUGO,                          )
11                                        ) CASE NO.: 2:20-cv-00819-PD
           Plaintiff,                     )
12                                        )
13   v.                                   ) ORDER
                                          ) AWARDING EAJA FEES AND COSTS
14
     ANDREW SAUL,                         )
15   Commissioner of Social Security,     )
16
                                          )
           Defendant.                     )
17                                        )
18
19         Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
20         IT IS ORDERED that EAJA fees are awarded in the amount of THREE
21   THOUSAND DOLLARS AND 00/100 ($3,000.00) and costs in the amount of
22   FOUR HUNDRED DOLLARS ($400.00) subject to the terms of the stipulation.
23
     DATED: October 20, 2020
24
                                          HON. PATRICIA DONAHUE
25                                        UNITED STATES MAGISTRATE JUDGE
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